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 3
     Attorney for defendant,
 4   Rachel Holmes
 5
                                  UNITED STATES DISTRICT COURT
 6
                          FOR THE EASTERN DISTSRICT OF CALIFORNIA
 7

 8                                                   )    Case No. 09-cr-00026 KJM
     UNITED STATES OF AMERICA,                       )
 9                                                   )    STIPULATION AND ORDER
                    Plaintiff,                       )    CONTINUING JUDGMENT AND
10                                                   )    SENTENCING DATE
            vs.                                      )
11                                                   )
     RACHEL HOLMES,                                  )
12                                                   )
                    Defendant.                       )
13
            This matter is now set for judgment and sentencing to occur on September 29, 2011.
14

15
     Counsel and Ms. Holmes have met with the United States Probation Officer and are in the

16   process of providing information relating to the preparation of a presentence investigation report.

17   Both defense counsel and the United States Probation Officer need additional time to complete
18   the process of preparing the presentence investigation report, and are therefore requesting a
19
     continuance. Counsel for the Government stipulates and agrees that the date for Judgment and
20
     Sentence should be moved to November 10, 2011, at 10:00 a.m., and that the parties should
21
     adopt the following schedule concerning the presentence investigation report.
22
            Reply or statement of non-opposition:                 11/3/11
23

24          Motion for correction of Pre-Sentence
            Report filed with court and served on
25          The Probation Officer and opposing
            Counsel no later than:                                10/27/11
26

                                                      1
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 2
            The Pre-Sentence Report shall be
            Filed with the court and disclosed to
 3          Counsel no later than:                                   10/20/11

 4          &RXQVHO¶VLQIRUPDOZULWWHQREMHFWLRQV
            To the Pre-Sentence Report shall be
 5          Delivered to the Probation Officer
            And opposing counsel no later than:                      10/13/11
 6

 7          The Proposed Pre-Sentence Report
            Shall be disclosed to counsel no later
 8          Than:                                                    10/6/11

 9
     DATED: August 12, 2011                                   /s/ Timothy E. Warriner, Attorney for
10
                                                              Defendant, Rachel Holmes
11
     DATED: August 12, 2011                                   /s/ Daniel S. McConkie, Assistant U.S.
12                                                            Attorney

13

14                                                  ORDER
15
            GOOD CAUSE APPEARING and pursuant to the stipulation of the parties, judgment
16
     and sentencing is re-set for November 10, 2011 at 10:00 a.m. The September 29, 2011 date is
17
     hereby vacated. The court adopts the schedule concerning the pre-sentence report pursuant to the
18
     stipulation of the parties and as set forth above.
19

20   DATED: August 22, 2011.

21
                                                              UNITED STATES DISTRICT JUDGE
22

23

24

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